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                      AFFIDAVIT IN SUPPORT OF COMPLAINT

       I, S. R. Miller, a Special Agent with the Federal Bureau of Investigation, being duly

sworn, hereby depose and state as follows:


       1.      I have been employed as Special Agent at the Federal Bureau of Investigation

since 2007. I am currently assigned to the Buffalo Field Office Child Exploitation Task Force

which targets individuals involved in the on-line sexual exploitation of children. I have

participated in investigations of persons suspected of violating federal child pornography

laws, including Title 18, United States Code, Sections 2251, 2252 and 2252A.



       2.      I have participated in various FBI mandated and volunteer training in the area

of child pornography, as defined in Title 18, United States Code, Section 2256(8), and child

exploitation, including in the investigation and enforcement of federal child pornography

laws in which computers are used as the means to receive, transmit, distribute, access, and

store child pornography.



       3.      I make this affidavit in support of a criminal complaint charging MICHAEL

BEVILL (hereinafter “BEVILL”) with violating Title 18 U.S.C. Sections 2251(a)

[production of visual depictions of a minor engaging in sexually explicit conduct].



       4.      The statements contained in this affidavit are based on my involvement in this

investigation, as well as information provided to me by other law enforcement officers

involved in this investigation, and upon my training and experience. Because this affidavit is

being submitted for the limited purpose of seeking a criminal complaint, I have not included


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each and every fact known to me concerning this investigation. I have set forth only the facts

that I believe are necessary to establish probable cause to believe that BEVILL violated Title

18, United States Code, Section 2251(a).


                                   I. FACTUAL BASIS


       5.      On September 6, 2023, FBI Philadelphia contacted your Affiant regarding a

subject in FBI Buffalo’s area of responsibility who is producing files of child pornography

with a pre-pubescent minor male (“VICTIM 1”). FBI Philadelphia’s investigation involved

communications that were being transmitted via the messenger application Telegram.

Telegram is an internet based instant messaging service where users can send and receive

messages, in addition to videos and images, as well as other features and information.



       6.      Through their investigation, FBI Philadelphia identified Telegram user

“Baseball Luvr”, communicating and exchanging messages with another Telegram account

user “Mac”.     Through law enforcement’s review of the communications between the

Telegram “Baseball Luvr” account and the Telegram account “Mac”, law enforcement

observed conversations related to sexual material, wherein “Mac” shared files of himself

sexually abusing VICTIM 1. For instance, in some of the visual depictions that were sent via

the Internet through the messaging application, the defendant’s face and body is apparent,

making the defendant recognizable.


       7.       On September 6, 2023, FBI Philadelphia sent a request to FBI Headquarters

(FBIHQ) asking for assistance in identifying VICTIM 1 and Telegram user “Mac”. To aide

in identifying the person who was using the Telegram account “Mac”, FBI Philadelphia

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submitted photographs that Telegram user “Mac” had sent via the Telegram messaging

application where he showed his face in the visual depictions. On or about September 7,

2023, FBIHQ provided information identifying BEVILL as the Telegram user “Mac”. By

using internal investigative techniques, BEVILL was identified the person in the photographs

that FBI Philadelphia sent to FBIHQ, and BEVILL was identified as an individual residing

in the Western District of New York at 3015 Birch Avenue, Niagara Falls, New York 14305.



       8.      On or about September 7, 2023, your Affiant reviewed some of the files and

chats that sent via the Telegram messaging application between “Mac” and “Baseball Luvr”.

A description of some of these files are detailed below:

       a. 197.mp4 – this 21 second color video depicts BEVILL holding the wrist of
          a minor’s left arm and uses the minor’s hand to masturbate his erect penis.
          During the video, BEVILL shows his face, and his tattoos are visible on the
          left side of his chest and left forearm.

       b. 150.mp4 – this 26 second color video depicts an adult male masturbating
          above a pre-pubescent male who is covered up with a gray-patterned
          blanket. The pre-pubescent minor male is wearing black shorts which are
          raised up exposing his penis and part of this testicles. The adult male
          ejaculates on the minor male’s shorts and exposed upper thigh.

       c. 1930.jpeg – this color picture depicts a blond pre-pubescent male in red
          underwear sitting on a mattress covered by a blue, white, and gray
          camouflage comforter. The pre-pubescent male is holding a controller for
          a gaming system while looking up at BEVILL, who has his shorts pulled
          down exposing his penis. Your Affiant recognized BEVILL in the
          photograph due to part of the distinct tattoo on his left forearm being visible
          in the picture.

       d. 1937.jpeg – this color picture depicts a blond pre-pubescent male who
          appears to be asleep on his back on a beige couch. His chest is covered by
          a burgundy, black, and white blanket. A hand is pulling the minor pre-
          pubescent male’s short and underwear down to expose his erect penis. The
          blond pre-pubescent male appears to be the same one that is in the picture
          titled 1930.jpeg.


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       9.      Based upon your Affiant’s review of these visual depictions, as well as others,

I was able to recognize the defendant as the individual in the visual depictions. Also, the

images of BEVILL in these visual depictions, match other photographs of BEVILL located,

for instance, on his Facebook account.



       10.     Further, based on your Affiant’s review of the visual depictions, it appears that

BEVILL used an electronic device such as a cellular phone to capture the depictions

referenced above.



       11.     Your Affiant also reviewed portions of the Telegram chats between “Mac” and

“Baseball Luvr”. The following abbreviated excerpts from the July 4, 2023 conversation

between “Mac” and “Baseball Luvr” using the Telegram application included the following

exchange: “Baseball Luvr” states: “Fuck I love [VICTIM 1]!” “Mac” replied: “I hear ya bud.

I’m pretty mad about you”. Their conversation continues that same day with “Baseball Luvr”

telling “Mac”: “Man I wish you had popped it in there!!!”. “Mac” responds: “Oh me too”,

“Soon I’ll get it on cam”. “Baseball Luvr” responds: “I hope so! Will be so hot!”, “Think he

will let ya?”, “Or you gonna hope you make him sleep deeply?”, and “Also, be prepared to

cum as soon as it pops through!”. In response, “Mac” states: “Hope he will”, and “Otherwise

I’ll go for it during sleepy time”. “Baseball Luvr” then states to “Mac”: “If you do this, make

sure he’s heavily drugged? You don’t want him to wake up”. “Mac” responds to “Baseball

Luvr” and messages “Baseball Luvr” stating: “But…on a serious note… drugged with

what?”, and further states, “I tried a couple Benadryl recently and that didn’t work”.




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